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 8                             UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
10                        (HONORABLE ANTHONY J. BATTAGLIA)
11 UNITED STATES OF AMERICA,                   )     Case No.15CR2771-AJB
                                               )
12               Plaintiff,                    )
                                               )
13 v.                                          )
                                               )     ORDER SHORTENING TIME
14 MICHAEL STROM ,                             )
                                               )
15               Defendant.                    )
                                               )
16

17               A MOTION TO SHORTEN TIME (“Motion”) has been made in the above-
18 entitled matter by Defendant Strom. The Motion fails to explain the reason for the late filing

19 or a basis for the Court to determine good cause. However, noting that trial is set in this case

20 in November 2016, the Court will grant the Motion. In so doing, the Court also extends

21 Plaintiffs time to respond to September 14, 2016. The Court will not accept any replies.

22               The Motion was submitted with a companion REQUEST TO FILE
23 DEFENDANTS MOTION TO DISMISS UNDER SEAL (“Request”). The Request does not

24 adequately address the basis for the request to seal the document in it’s entirety, including a

25 copy of the eight page Indictment which exists on the public docket in this case. The Request

26 merely alleges it contains “sensitive and confidential information.”

27               There is a presumptive right of public access to court records based upon
28 common law and first amendment grounds. Even where a public right of access exists, such
     access may be denied by the Court in order to protect sensitive personal or confidential
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 1 information. See, Kamakana v. City & County of Honolulu, 447 F.3d 1172, 1180 (9th Cir.

 2 2006). The legal standard in our circuit is, if a court decides to seal judicial documents and

 3 records in either a civil or criminal case, is that it must identify the compelling interest and

 4 articulate the factual basis for its finding "without relying on hypothesis or conjecture." Id. at

 5 1179.

 6               The Court has established Chambers Rules in this regard. Defendant needs to
 7 comply with those. See, https://www.casd.uscourts.gov/Rules/SitePages/Home.aspx. In the

 8 meantime, the Court will deem the Motion filed and set for hearing on September 19, 2006.

 9 Before the hearing, Defendant must supplement the Request to address the compelling

10 interest’s and the reasons why the entirety of the document warrants filing versus a redacted

11 Motion or a separate supplement of the sensitive and confidential material.

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13 IT IS SO ORDERED.

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15 DATED: September 9, 2016

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                                                     Hon. Anthony J. Battaglia
17                                                   U.S. District Judge
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